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6

7
                           IN THE UNITED STATES DISTRICT COURT
8                            SOUTHERN DISTRICT OF CALIFORNIA
9

10   KENNETH FORNEY,                              ) Case No.: '19CV120 DMS BGS
                                                  )
11                                                ) COMPLAINT
                   Plaintiff,                     )
12                                                ) (Unlawful Debt Collection Practices)
           v.                                     )
13                                                )
                                                  )
14   CAPITAL ONE BANK (USA), N.A.,                )
                                                  )
15                                                )
                   Defendant.                     )
16                                                )
17
           KENNETH FORNEY (Plaintiff), by his attorneys, KROHN & MOSS, LTD., alleges the
18
     following against CAPITAL ONE BANK (USA), N.A., (Defendant):
19
                                          INTRODUCTION
20
       1. Count I of Plaintiff’s Complaint is based on Telephone Consumer Protection Act, 28 U.S.C.
21
          § 227 et seq. (TCPA).
22
       2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection Practices
23
          Act, Cal. Civ. Code § 1788 et seq. (RFDCPA).
24

25




                                        PLAINTIFF’S
                                                 - 1COMPLAINT
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                                    JURISDICTION AND VENUE
1
      3. Jurisdiction of this Court over Counts I of Plaintiff’s Complaint arises pursuant to 28 U.S.C.
2
         § 1331, and 28 U.S.C. § 1367 grants this court supplemental jurisdiction over the state
3
         claims contained herein.
4
      4. Defendant conducts business in the State of California thereby establishing personal
5
         jurisdiction.
6
      5. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
7
                                               PARTIES
8
      6. Plaintiff is a natural person residing in El Centro, California.
9
      7. Claimant is a consumer or debtor and allegedly owes a debt as that term is defined by Cal.
10
         Civ. Code § 1788.2(d)-(e).
11
      8. Defendant is a business entity with headquarters located in McLean, Virginia.
12
      9. Defendant acted through its agents, employees, officers, members, directors, heirs,
13
         successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
14
                                   FACTUAL ALLEGATIONS
15    10. Defendant placed telephone calls to telephone number (760) 500-6433..
16
      11. Telephone number (760) 500-6433. has been assigned to Plaintiff’s cellular telephone.
17
      12. Defendant placed these calls nearly daily and on many occasions multiple times in a single
18
         day.
19
      13. Defendant has called the aforementioned telephone phone number as many as three times
20
         in a single day.
21
      14. These calls are not for an emergency purpose.
22

23
      15. These calls are associated with a financial account that is allegedly past due and owed.

24

25




                                         PLAINTIFF’S
                                                  - 2COMPLAINT
                                                     -
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      16. Upon information and good faith belief, and in light of the frequency, number, nature, and
1
         character of these calls, Defendant placed them by using an automatic telephone dialing
2

3
         system.

4     17. On or about July 26, 2018, Plaintiff spoke with Defendant through one of its employees.

5     18. Plaintiff instructed Defendant to stop calling his cell phone.

6     19. Defendant continued to call Plaintiff’s cell phone after July 26, 2018.
7     20. Defendant continued to use an automatic telephone dialing system to place these calls.
8
      21. Plaintiff estimates that between July 27, 2018 and November 26, 2018, Defendant called
9
         his cell phone at least one hundred forty-four (144) times.
10
      22. Defendant intended to use an automatic telephone dialing system to place these calls.
11
      23. Defendant did not have Plaintiff’s express consent to use an automatic telephone dialing
12
         system to place these calls.
13
      24. Defendant knew that it did not have Plaintiff’s express consent to use an automatic
14
         telephone dialing system to place these calls.
15

16    25. Defendant placed these calls voluntarily.

17    26. Defendant placed these calls under its own free will.

18    27. Defendant had knowledge that it was using an automatic telephone dialing system to place

19       these calls.
20    28. Defendant willfully used an automatic telephone dialing system to place these calls.
21
      29. Plaintiff was annoyed and felt harassed by these calls.
22

23

24

25




                                         PLAINTIFF’S
                                                  - 3COMPLAINT
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1                                                COUNT I

2      DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTIONS ACT

3      30. Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,

4         entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation

5         pursuant to 47 U.S.C. § 227(b)(3)(B).

6      31. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or willful

7         violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory damages for

8         each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

9         227(b)(3)(C).

10         Wherefore, Plaintiff, KENNETH FORNEY, respectfully requests judgment be entered

11   against Defendant, CAPITAL ONE BANK (USA), N.A., for the following:

12     32. Statutory damages of $500.00 for each and every negligent violation of the TCPA pursuant

13        to 47 U.S.C. § (b)(3)(B);

14     33. Statutory damages of $1500.00 for each and every knowing and/or willful violation of the

15        TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

16     34. All court costs, witness fees and other fees incurred; and

17     35. Any other relief that this Honorable Court deems appropriate.

18

19                                COUNT II
           DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
20                             PRACTICES ACT
21     36. Plaintiff repeats and realleges all of the allegations in Count I of Plaintiff’s Complaint as
22        the allegations in Count II of Plaintiff’s Complaint.
23     37. Defendant violated the RFDCPA based on the following:
24             a. Defendant violated § 1788.11(d) of the RFDCPA by causing a telephone to ring
25                 repeatedly or continuously to annoy the person called;




                                          PLAINTIFF’S
                                                   - 4COMPLAINT
                                                      -
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1              b. Defendant violated § 1788.11(e) of the RFDCPA by communicating with Plaintiff

2                  with such frequency as to be unreasonable and to constitute a harassment to

3                  Plaintiff.

4              c. Defendant violated § 1788.17 of the RFDCPA by failing to comply with the Fair

5                  Debt Collection Practices, Act, 15 U.S.C. § 1692 et seq., to wit:

6                        1. Defendant violated §1692d of the FDCPA by engaging in conduct the

7                               natural consequence of which is to harass, oppress, or abuse Plaintiff;

8                        2. Defendant violated §1692d(5) of the FDCPA by causing a telephone to

9                               ring repeatedly or continuously with intent to annoy, harass, or abuse

10                              Plaintiff.

11         WHEREFORE, Plaintiff, KENNETH FORNEY, respectfully requests judgment be

12   entered against Defendant, CAPITAL ONE BANK (USA), N.A., for the following:

13     38. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection Practices

14        Act, Cal. Civ. Code §1788.30(b),

15     39. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection

16        Practices Act, Cal. Civ Code § 1788.30(c), and

17     40. Any other relief that this Honorable Court deems appropriate.

18                                                       RESPECTFULLY SUBMITTED,
        DATED: January 17, 2019
19
                                                         KROHN & MOSS, LTD.
20
                                               By: /s/   Taylor M. Tieman
21                                                       Taylor M. Tieman
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                                             PLAINTIFF’S
                                                      - 5COMPLAINT
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